                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


 JAMES D. HORNSBY,                           )
 ADRIAN YARBROUGH and                        )
 SOUTHERN ELECTRICAL                         )
 RETIREMENT FUND,                            )
                                             )
        Plaintiff,                           )
                                             )
 v.                                          )    NO. 3:20-cv-00440
                                             )
 DEMCO, INC., and                            )
 PATRICK CALLAHAN,                           )
                                             )
        Defendants.                          )


                                         ORDER

       The Plaintiffs have filed a Notice of Voluntary Dismissal (Doc. No. 8.) Accordingly,

this action is DISMISSED WITHOUT PREJUDICE, and the Clerk is directed to close the file.



       IT IS SO ORDERED.


                                         ____________________________________
                                         WAVERLY D. CRENSHAW, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE




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